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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


 ESTATE OF ESTHER KLIEMAN, et al.,

                                 Plaintiffs,                 Civil Action No. 04-1173 (PLF)

            v.

 THE PALESTINIAN AUTHORITY, et al.,

                                 Defendants.



       FOURTH NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
       DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL

       Defendants Palestinian Authority (“PA”) and Palestine Liberation Organization (“PLO”)

(together, “Defendants”), by and through their undersigned counsel, hereby submit the attached

decision from Shatsky v. PLO, Case No. 18-cv-12355 (MKV), Dkt. 165 (S.D.N.Y. Mar. 18, 2022),

as supplemental authority in support of their Opposition to Plaintiffs’ Motion to Compel [Dkt.

320/321].

       In Shatsky, Judge Vyskocil held that the Promoting Security and Justice for Victims of

Terrorism Act (“PSJVTA”) is unconstitutional as applied to the PA and PLO and granted

Defendants’ motion to dismiss for lack of personal jurisdiction. Dkt. 165 at 12. The Shatsky court

reached this conclusion after permitting jurisdictional discovery concerning the PSJVTA’s factual

predicates [Id. at 6], and notably, the jurisdictional discovery record in Shatsky is the exact same

jurisdictional discovery that Defendants have produced in this case.

       In finding the PSJVTA unconstitutional, the Shatsky court followed the “thorough, well-

reasoned opinion” of Judge Furman in Fuld v. PLO, No. 20-CV-3374, 2022 U.S. Dist. LEXIS
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3102 (S.D.N.Y. Jan. 6, 2022)1 and Judge Daniels’ decision on remand in Sokolow v. PLO, Case

No. 04 Civ. 397 (GBD), Dkt. 1054 (S.D.N.Y. Mar. 10, 2022).2 Dkt. 165 at 7. Plaintiffs here tried

to distinguish both decisions on the ground that neither case was based on jurisdictional discovery

[Dkt. 329 at 1-2; 331 at 1-2], yet the Shatsky court found that “[f]or purposes of Defendants’

motion to dismiss for lack of personal jurisdiction, [the Shatsky] case is essentially identical to

Fuld and Sokolow.” Dkt. 165 at 8.

       As to the factual predicates, the Shatsky court found that “the PLO and PA admit that they

made payments to the family of the 2002 suicide bomber that the PSJVTA deems consent to

personal jurisdiction” but the parties “argue about whether the PLO and PA also meet the

PSJVTA’s test for consent to jurisdiction based on non-exempt (that is, non-U.N-related) offices

and activities in the United States.” Dkt. 165 at 8-9. The Shatsky court agreed with Defendants

that “in all events, the factual predicates under the PSJVTA are not sufficient to support the

exercise of personal jurisdiction under the Due Process Clause of the Fifth Amendment.” Id. at 9.

Thus, the Shatsky court did not resolve the parties’ dispute as to whether the U.S. Activity Predicate

was satisfied, as it determined that the PSJVTA was unconstitutional as applied to the PA and PLO

regardless.

       Like the earlier decisions in Fuld and Sokolow, the Shatsky decision confirms that

Plaintiffs’ Motion to Compel [Dkt. 315] should be denied. Specifically, further jurisdictional

discovery in this case is futile, because as explained in all three opinions, the PSJVTA cannot

constitutionally supply a basis for personal jurisdiction over Defendants. Following the reasoning

in Fuld, Sokolow and Shatsky, there is no reason for further discovery on the U.S. Activity




1
Defendants filed a Second Notice of Supplemental Authority addressing the Fuld decision. Dkt. 328.
2
Defendants filed a Third Notice of Supplemental Authority addressing the Sokolow decision. Dkt. 330.

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Predicate (which is the subject of Plaintiffs’ Motion to Compel). The Court should accordingly

deny Plaintiffs’ Motion to Compel.



March 21, 2022                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 21, 2022, I caused a true and correct copy of the foregoing

Fourth Notice of Supplemental Authority on behalf of The Palestinian Authority and Palestine

Liberation Organization to be served through the Court’s CM/ECF System on all counsel of record

in this action.




                                             /s/ Gassan A. Baloul
                                             Gassan A. Baloul




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